                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                      )
                                               )
 v.                                            )       Case No. 1:09-CR-98
                                               )
 JAMES LAVELLE WILLIAMS                        )       MATTICE/CARTER


                                             ORDER

        On August 4, 2009, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant James Lavelle Williams’

 (“Defendant”) plea of guilty to Count One of the Indictment, to the extent that it charges the

 lesser included offense of conspiracy to distribute and possess with the intent to distribute five

 (5) grams or more of a mixture or substance containing a detectable amount of cocaine base

 (“crack”) in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B), in exchange for the

 undertakings made by the government in the written plea agreement, (b) the Court adjudicate

 Defendant guilty of the charges set forth in Count One of the Indictment; and (c) Defendant shall

 remain in custody pending sentencing in this matter (Doc. 162). Neither party filed an objection

 within the given ten days. After reviewing the record, the Court agrees with the magistrate

 judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

 magistrate judge’s report and recommendation (Doc. 162) pursuant to 28 U.S.C. § 636(b)(1) and

 ORDERS as follows:

        (1) Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

 Indictment; and




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       (3) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

 November 2, 2009, at 9:00 am.

       SO ORDERED.

       ENTER:


                                                     /s/Harry S. Mattice, Jr.
                                                     HARRY S. MATTICE, JR.
                                                UNITED STATES DISTRICT JUDGE




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